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                14     GAMELOFT, INC.

                15                               UNITED STATES DISTRICT COURT
                16                           NORTHERN DISTRICT OF CALIFORNIA
                17
                                                      SAN FRANCISCO DIVISION
                18

                19     GLASS EGG DIGITAL MEDIA LTD.,           CASE NO. 3:17-cv-04165 MMC [RMI]
                                                               ORDER APPROVING
                20                      Plaintiff,             STIPULATION [AND PROPOSED ORDER]
                                                               OF VOLUNTARY DISMISSAL WITH
                21     v.                                      PREJUDICE
                22     GAMELOFT, INC., GAMELOFT SE
                       and does 1 through 20,
                23
                                        Defendants.
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DLA P I PER LLP (US)
                                  STIPULATION AND [PROPOSED] ORDER OF VOLUNTARY DISMISSAL WITH PREJUDICE
                                                                           CASE NO. 3:17-CV-04165 MMC [RMI]
         Case 3:17-cv-04165-MMC Document 305 Filed 05/13/22 Page 2 of 3


 1          TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 2          Plaintiff GLASS EGG DIGITAL MEDIA LIMITED, Defendant GAMELOFT SE, and

 3   Defendant GAMELOFT, INC., by and through their undersigned attorneys, hereby jointly stipulate

 4   and agree pursuant to Rule 41(a) of the Federal Rules of Civil Procedure that this action and each and

 5   every count and claim asserted therein shall be dismissed with prejudice, with each party to bear its

 6   own attorney’s fees, costs, and expenses.

 7          IT IS SO STIPULATED.

 8    DATED: May 13, 2022                                  NIXON PEABODY LLP
 9
                                                           By     /s/ Robert A. Weikert
10                                                              ROBERT A. WEIKERT
                                                                ANDREW H. WINETROUB
11
                                                                Attorneys for Defendant
12                                                              GAMELOFT, INC.
13

14    DATED: May 13, 2022                                  DLA PIPER LLP (US)
15
                                                           By     /s/ Gina L. Durham
16                                                              GINA L. DURHAM
                                                                MANDY CHAN
17                                                              AIDAN MCCORMACK
18                                                              Attorneys for Defendant
                                                                GAMELOFT SE
19
20
      DATED: May 13, 2022                                  KYZEN LAW PC
21

22                                                         By      /s/ Q. Huy Do
                                                                Q. HUY DO
23

24                                                         COBLENTZ PATCH DUFFY & BASS LLP
25
                                                           By     /s/ Stanley G. Roman
26                                                              STANLEY G. ROMAN
                                                                CHRISTOPHER J. WEINER
27
                                                                Attorneys for Plaintiff
28                                                              GLASS EGG DIGITAL MEDIA LTD

                                                       1
                     STIPULATION AND [PROPOSED] ORDER OF VOLUNTARY DISMISSAL WITH PREJUDICE
                                                              CASE NO. 3:17-CV-04165 MMC [RMI]
          Case 3:17-cv-04165-MMC Document 305 Filed 05/13/22 Page 3 of 3



 1
            Attestation: Pursuant to L.R. 5-1(h)(3), I hereby attest that all other signatories listed, and on
 2
     whose behalf this filing is submitted, concur in this filing’s content and have authorized this filing.
 3

 4                                                     /s/ Gina L. Durham
                                                           Gina L. Durham
 5

 6

 7
                                                     ORDER
 8
     PURSUANT TO STIPULATION, IT IS SO ORDERED.
 9
10
     DATED: May 13, 2022
11
                                                   ________________________________________
12
                                                   THE HONORABLE MAXINE M. CHESNEY
13                                                 UNITED STATES DISTRICT JUDGE

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                      STIPULATION AND [PROPOSED] ORDER OF VOLUNTARY DISMISSAL WITH PREJUDICE
                                                               CASE NO. 3:17-CV-04165 MMC [RMI]
